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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 18-cv-2527-WJM-KLM

   VICTORIA FLORES, on behalf of herself and all others similarly situated,

          Plaintiff,

   v.

   BANK OF AMERICA, N.A.,

          Defendant.


   ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION TO
     DISMISS, AND DENYING PLAINTIFF’S MOTION FOR SURREPLY AS MOOT


          This is a proposed class action lawsuit between Plaintiff Victoria Flores (“Flores”)

   and Defendant Bank of America, N.A. (“Bank of America,” but sometimes referred to as

   “BofA” or “BOA” in the parties’ papers). Flores alleges that she had a no-fee “eBanking

   Checking Account” account with Bank of America for several years before January

   2018. In the middle of that month, Bank of America automatically enrolled her and all

   other eBanking account holders, allegedly without their consent, in a new “Core

   Checking” account with an automatically-withdrawn $12 monthly fee. Apparently she

   and many others paid this monthly fee unknowingly for some time thereafter.

          Invoking this Court’s diversity jurisdiction, see 28 U.S.C. § 1332(a), Flores now

   sues Bank of America, on her own behalf and on behalf of a proposed nationwide class,

   claiming that Bank of America is liable to former eBanking account holders for these

   automatic withdrawals. She specifically pleads five claims for relief:

          •       breach of contract (Claim 1);
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          •      breach of the covenant of good faith and fear dealing (Claim 2),

                 sometimes referred to below as a “GFFD” claim;

          •      violation of the Colorado Consumer Protection Act (“CCPA”), Colo. Rev.

                 Stat. §§ 6-1-101 et seq. (Claim 3);

          •      conversion (Claim 4); and

          •      unjust enrichment (Claim 5).

   (ECF No. 1 at 11–15.)

          Currently before the Court is Bank of America’s Motion to Dismiss Plaintiff’s

   Complaint and, in the Alternative, Strike Class Allegations (“Motion”). (ECF No. 8.)

   Also before the Court is Flores’s Motion for Leave to File Surreply (“Surreply Motion”).

   (ECF No. 22.) The Court heard oral argument on June 7, 2019. (ECF No. 35.) For the

   reasons set forth below, the Court: (i) grants the Motion with prejudice as to Flores’s

   claims for breach of contract and conversion, (ii) grants the Motion without prejudice as

   to Flores’s claims for violation of the CCPA and unjust enrichment, (iii) denies the

   Motion as to Flores’s claim for breach of the covenant of good faith and fair dealing to

   the extent Flores alleges Bank of America abused its discretion to send notice as part of

   a bank statement, (iv) grants the Motion with prejudice as to the remainder of Flores’s

   GFFD claim, and (v) denies the Motion without prejudice to the extent it seeks to strike

   class allegations. The Court will lift the stay of discovery, but, for the time being, will

   limit the parties to individual (non-class) discovery, to illuminate certain issues that may

   be dispositive. The Court will defer class certification proceedings until the significance

   of that discovery has been evaluated. Finally, the Surreply Motion is denied as moot.




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                                    I. RULE 12(b)(6) STANDARD

   A.     General Standard

          Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a

   claim in a complaint for “failure to state a claim upon which relief can be granted.” The

   12(b)(6) standard requires the Court to “assume the truth of the plaintiff’s well-pleaded

   factual allegations and view them in the light most favorable to the plaintiff.” Ridge at

   Red Hawk, LLC v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007). In ruling on such a

   motion, the dispositive inquiry is “whether the complaint contains ‘enough facts to state

   a claim to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp. v. Twombly,

   550 U.S. 544, 570 (2007)). Granting a motion to dismiss “is a harsh remedy which must

   be cautiously studied, not only to effectuate the spirit of the liberal rules of pleading but

   also to protect the interests of justice.” Dias v. City & Cnty. of Denver, 567 F.3d 1169,

   1178 (10th Cir. 2009) (internal quotation marks omitted). “Thus, ‘a well-pleaded

   complaint may proceed even if it strikes a savvy judge that actual proof of those facts is

   improbable, and that a recovery is very remote and unlikely.’” Id. (quoting Twombly,

   550 U.S. at 556).

   B.     Documents Outside the Pleadings

          The Court may consider a document outside the pleadings, even in a Rule

   12(b)(6) analysis, if the document is (1) “mentioned in the complaint,” (2) “central to [the]

   claims [at issue],” and (3) not challenged as inauthentic. Toone v. Wells Fargo Bank,

   N.A., 716 F.3d 516, 521 (10th Cir. 2013). 1


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            “If the rule were otherwise, a plaintiff with a deficient claim could survive a motion to
   dismiss simply by not attaching a dispositive document upon which the plaintiff relied.” GFF
   Corp. v. Associated Wholesale Grocers, Inc., 130 F.3d 1381, 1385 (10th Cir. 1997); see also
   Magellan Int’l Corp. v. Salzgitter Handel GmbH, 76 F. Supp. 2d 919, 923 (N.D. Ill. 1999) (“it

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          Flores’s complaint repeatedly refers to “the agreement” between Flores and Bank

   of America, and sometimes more specifically to the “Deposit Agreement.” (See, e.g.,

   ECF No. 1 ¶¶ 3, 31, 59, 61–63.) Bank of America therefore asks the Court to consider

   the 2012 and 2017 versions of its “Deposit Agreement” and “Personal Schedule of

   Fees,” which Bank of America represents to comprise the “agreement” to which Flores

   refers in the complaint. (ECF No. 8 at 1–2 & n.1; 2 see also ECF Nos. 8-2 through 8-5.)

   The Court agrees that these documents are mentioned in the complaint and central to

   Flores’s claims. In addition, Flores does not contest them as inauthentic, but instead

   relies upon them in her response brief. (See, e.g., ECF No. 10 at 4.) Accordingly, the

   Court will treat those documents as part of the pleadings.

          Flores’s complaint also refers to what she claims to be the only notice she ever

   received that her eBanking account would become a Core Checking account. (ECF

   No. 1 ¶¶ 23, 25.) She says this notice was placed on the last page of a several-page

   monthly statement “at the end of 2017.” (Id.) Bank of America accordingly asks the

   Court to consider a redacted version of Flores’s October 2017 bank statement, which

   Bank of America represents to be the notice to which Flores refers. (ECF No. 8 at 2

   n.1.) Flores disputes the admissibility of this document in the present circumstances,

   but she changes the focus from whether the document is authentic to whether she

   received it. She claims, by way of declaration, that she



   would be totally wasteful to uphold a claim on the false premise created by less than complete
   documentation when the delayed consideration of the remaining documents would lead to
   dismissal of that claim”).
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           All ECF page citations are to the page number in the CM/ECF header, which does not
   always match the document’s internal pagination, particularly in briefs and exhibits with
   unnumbered cover pages.


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                 was never actually provided with the statement BOA now
                 relies on to prove notice and assent. Rather, BOA sent an
                 email to Plaintiff telling her that she could, if she chose, go to
                 BOA’s website to download the statement. There is no
                 evidence BOA notified Plaintiff that this particular statement
                 (as opposed to the dozens of others she received during the
                 five years her account was open) was somehow special and
                 included binding contractual changes. Nor is there any
                 evidence Plaintiff actually viewed the statement. Plaintiff
                 does not recall doing so.

   (ECF No. 10 at 7 (citations omitted).)

          The problem with this argument is that the complaint—and, indeed, all of Flores’s

   arguments apart from this attempt to prevent the October 2017 statement from being

   considered a part of the pleadings—rests on the notion that the notice was received but

   was nonetheless intentionally designed by Bank of America to be overlooked because it

   was given only once, and it appeared on the last page of an otherwise typical online-

   only monthly statement. (See ECF No. 1 ¶¶ 22–30; ECF No. 10 at 3, 7–9.) Thus, the

   argument as stated in the complaint is independent of what the notice actually says.

   The question raised by Flores’s complaint is whether the manner of presenting the

   notice was sufficient to obtain account holders’ consent, not whether the words of the

   notice were, e.g., deceptive or ambiguous. In short, accepting the October 2017

   statement as part of the pleadings is appropriate because Flores does not argue that it

   is inauthentic, nor does she claim that it alters her theory as presented in the complaint.

                                       II. BACKGROUND

          The Court derives the following summary from the complaint and the documents

   the Court has agreed to consider as part of the pleadings.

   A.     The Governing Contracts

          Flores opened her eBanking checking account no later than 2012. (ECF No. 10



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   at 7.) The monthly maintenance fee for an eBanking checking account was $8.95,

   which Bank of America waived if the account holder met

                 both of the following [conditions] during each statement
                 cycle:

                 •   Use paperless statements

                     And

                 •   Use self-service options (such as our ATMs and Online
                     Banking, instead of a teller) for deposits and
                     withdrawals[.]

   (ECF No. 8-3 at 4 (formatting in original).)

          The Deposit Agreement between Flores and Bank of America contained, among

   many other things, a very broad reservation of Bank of America’s right to modify the

   Agreement:

                 We may change this Agreement at any time. We may add
                 new terms. We may delete or amend existing terms. We
                 may add new accounts and services and discontinue
                 existing accounts or services. We may convert existing
                 accounts and services into new accounts and services.

                 We ordinarily send you advance notice of an adverse
                 change to this Agreement. However, we may make changes
                 without prior notice unless otherwise required by law. We
                 may, but do not have to, notify you of changes that we make
                 for security reasons or that we believe are either beneficial
                 or not adverse to you.

                 When we change this Agreement, the then-current version of
                 this Agreement supersedes all prior versions and governs
                 your account.

                 If you continue to use your account or keep it open, you are
                 deemed to accept and agree to the change and are bound
                 by the change. If you do not agree with a change, you may
                 close your account as provided in this Agreement.

   (ECF No. 8-2 at 4.) The Court will refer to this as the “Modification Clause.”



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          Also relevant here is a similar clause specific to account conversions:

                 We may convert your account to another type of account,
                 revoke privileges or close your account:

                                                ***

                 •   when we consider it appropriate or necessary to do so.

                 If we discontinue your type of account, we may convert your
                 account to another type of account. . . . If we convert your
                 account, we will send you information about your new
                 account.

   (Id. at 19 (formatting in original).) The Court will refer to this as the “Conversion

   Clause.”

          Supplementing the Modification Clause and Conversion Clause is language

   regarding Bank of America’s manner of providing notice:

                 When we inform you of changes affecting your rights and
                 obligations, we do so by delivering or otherwise making a
                 notice available to you. In some cases, we may post a
                 notice of a change in our banking offices or on our website.
                 Otherwise, we mail the notice to you at the address we
                 currently show for your statement or, if we have agreed on
                 this method, we provide it to you electronically. We may
                 provide a notice as a message on your statement or as an
                 insert with your statement.

   (Id. at 15.) The Court will refer to this as the “Notice Clause.”

          The Deposit Agreement also contained a “Governing Law Clause”:

                 This Agreement, and your and our rights and obligations
                 under this Agreement, are governed by and interpreted
                 according to federal law and the law of the state where your
                 account is located. We ordinarily maintain your account at
                 the banking center where we open your account. However,
                 we may transfer your account to another banking center in
                 the same state or in a different state.

   (Id. at 4.) Indirectly elaborating on this clause, the Personal Schedule of Fees states:

   “We have to maintain deposit accounts at one of our banking centers. If you live in a


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   state where we do not have a banking center and you ask us to open a personal

   account for you, we currently maintain the account at one of our banking centers in

   Virginia.” (ECF No. 8-3 at 3.)

   B.     Conversion from eBanking to Core Checking

          In October 2017, Bank of America issued to Flores an online bank statement—

   again, Flores was required to accept online-only statements to maintain the waiver of

   the $8.95 fee. On the first page of the statement, immediately underneath Flores’s

   address, was a conspicuous notice stating, “Please see the Important Messages -

   Please Read section of your statement for important details that could impact you.”

   (ECF No. 8-6 at 2 (boldface in original).) The statement then went on to set forth

   Flores’s account balances and transaction history, followed by a blank page. (Id. at 2–

   5.) After the blank page was a new page with a large-type, bold heading, “Important

   Messages - Please Read.” (Id. at 6.) The notice announced that, “[o]n January 19,

   2018, your eBanking checking account will change to a Bank of America Core

   Checking® account.” (Id.) Bank of America explained that “[a]ccount information,

   including your account number, checks and debit card, all remain the same,” but that

   certain other changes would take effect, specifically:

                 •   Financial center transactions - beginning January 19,
                     2018, you will no longer pay a monthly maintenance fee
                     because you use a teller to make deposits and
                     withdrawals. With your Core Checking account, you will
                     be able to make unlimited deposits and withdrawals with
                     a teller at a financial center.

                 •   Monthly maintenance fee - a $12 monthly maintenance
                     fee will apply to your Core Checking account beginning
                     with your statement cycle that starts on or after January
                     19, 2018. However, you can avoid this fee when you
                     meet any ONE of the requirements shown below during
                     each monthly statement cycle. Otherwise, the $12

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                     monthly fee will be deducted from your account.

   (Id. (formatting in original).) The “requirements shown below” were:

                 •   Have at least one qualifying direct deposit of $250 or
                     more, such as your salary, pension, Social Security or
                     other regular monthly income, OR

                 •   Keep a minimum daily balance of $1,500 or more in your
                     account, OR

                 •   Enroll in the Preferred Rewards program and qualify for
                     the Gold, Platinum or Platinum Honors tier (waiver
                     applies to first 4 checking accounts).

   (Id. (formatting in original).) The message also stated that Flores had not met any of

   these requirements in the previous June, July, and August, and so she “would have

   been charged the monthly fee” under the new rules. (Id.)

          Flores alleges that Bank of America “intentionally” chose to notify eBanking

   account holders of the upcoming change in the foregoing manner “because it knew few

   people would be able or likely to see this notification.” (ECF No. 1 ¶ 24.) Elaborating,

   Flores alleges:

                 First, the notice was placed on the very last page of the
                 statement,[3] well after actual banking details—the
                 information consumers actually care about—were provided.

                 Second, eBanking accountholders were required to receive
                 all statements electronically. That means accountholders
                 never received any written, mailed notice of their account
                 closure.

                 Instead, consumers would have had to scroll the end of a
                 several-page electronic document to see any notification
                 whatsoever of their account closure.

                 Moreover—and as BofA is well aware—many of the low-
                 income consumers who were enrolled in the eBanking
          3
           The October 2017 statement shows the notice on the fifth of eight pages, but that
   discrepancy is immaterial for present purposes. (See ECF No. 8-6.)


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                  accounts do not have regular access to computers. BofA
                  knows low income people generally use their phones, if they
                  have digital access at all, for all banking needs, instead of a
                  separate laptop.

                  Instead, many use mobile devices to perform banking
                  functions and to read statements. However, the statements
                  are even more difficult to read on smaller, mobile devices.

                  This process was designed to ensure few people understood
                  their accounts would be closed, and to ensure that few
                  accountholders could arrange for alternative banking
                  options. In short, the inconspicuous “notice” was designed
                  to maximize BofA’s power of default—and to ensure the vast
                  majority of consumers began paying for the new $144 per
                  year checking accounts via automatic deduction.

   (Id. ¶¶ 25–30.) 4

          Flores nonetheless clarifies that “it is within BofA’s rights to cease offering a

   product like free checking accounts, and to set the prices of its products.” (Id. ¶ 6.)

   Thus, she “does not claim she is entitled to a lifetime of free checking because she

   entered into an initial contract for one.” (Id. ¶ 38.) Rather, she argues that “the process

   [through which] BofA chose to close her old account and enroll her in a new one was

   unfair and deceptive.” (Id. (emphasis in original).)

                                            III. ANALYSIS

          This case presents potentially significant choice-of-law questions, particularly as


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            Flores’s reference to “BofA’s power of default” is a recurring theme in her complaint.
   She quotes excerpts of the writings of Prof. Cass Sunstein about “default rules” that
   automatically enroll people into programs unless they choose to opt-out. (Id. ¶¶ 19–20.) But,
   even for rhetorical value, Flores somewhat misunderstands Prof. Sunstein. “Default rules,” in
   Sunstein’s view, relate to known choices, including the knowledge that if one does nothing, the
   outcome will be opt-in instead of opt-out. Sunstein’s point is that the natural tendency toward
   inaction and the implicit official endorsement of the opt-in outcome (because it is the default
   rule) tend to lead to higher enrollment. (Id.) Understood properly, “default rules” have little to do
   with Flores’s theory, namely, that most eBanking account holders did not know about the
   changes on the horizon, nor the need to make an opt in/out decision. One cannot procrastinate
   an unknown choice, nor be influenced by an unknown endorsement.


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   between the laws of Colorado (for which Flores mainly argues) and Virginia (for which

   Bank of America argues). However, the Court finds that those issues are clarified by

   first examining Flores’s claims on their merits under both states’ laws. Following that

   analysis, the Court will address the choice of law issue.

   A.     Has Flores Adequately Pleaded a Breach of Contract Claim?

          Bank of America argues that Flores has failed to state a claim for breach of

   contract under either Colorado or Virginia law because Flores “fails even to specify the

   [contractual] terms [Bank of America] purportedly violated.” (ECF No. 8 at 5.) Flores

   responds that she

                 had a contract with BOA that entitled her to a free checking
                 account, as long as she chose to forgo certain BOA
                 services. BOA breached that contractual promise when,
                 without Plaintiff’s assent, it unilaterally closed her account,
                 opened a new account, then began to withdraw $144 a year
                 from her new account automatically—and provided her no
                 additional services in the process.

                 Under Colorado [and Virginia] law, a modification to a
                 contract cannot be made by unilateral fiat. Rather, it
                 requires assent and consideration. Both are lacking.
                 Further, the contract does not authorize BOA’s conduct here.
                 If it does, that provision is illusory and unenforceable.

   (ECF No. 10 at 6 (footnotes and citations omitted).)

          1.     The Competing Views of What Happened

          Evaluating the parties’ arguments requires settling on the appropriate way to

   view the change from eBanking to Core Checking.

          Flores views eBanking as a “free checking account” with certain charges for

   using in-person banking services, while Core Checking necessarily costs $12/month.

   Flores insists that her eBanking account was “closed” and then “a new account”—the

   Core Checking account—was “opened,” so the two accounts are fundamentally distinct.


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           Bank of America views eBanking as an $8.95/month checking account, with the

   fee waived if the account holder elects electronic statements and foregoes in-person

   banking services, while Core Checking is a $12/month checking account, with the fee

   waived if the account holder satisfies different conditions (direct deposit of $250 or more

   per month, or a minimum daily balance of $1,500, or enrollment in a rewards program).

   (ECF No. 8 at 6 n.3; ECF No. 15 at 1.) In other words, what has changed is the amount

   of the monthly fee and the terms for avoiding it. And Flores nowhere disputes, for

   example, that her account number remained the same before and after the transition—

   as the October 2017 statement said it would. (See ECF No. 8-6 at 6.)

          The Court agrees with Bank of America that Flores has not plausibly pled either

   that she had a free checking account or that it was closed and reopened as something

   new. Flores has never had an unqualifiedly free checking account. Bank of America

   has always imposed a fee and a way to avoid that fee, both in connection with her

   eBanking and her Core Checking accounts. What changed in January 2018 was the

   amount of the fee and the avoidance conditions.

          2.     Illusoriness & Narrowing Constructions

          The Modification Clause and the Conversion Clause could not be plainer about

   Bank of America’s authority to make a change such as the conversion of eBanking

   accounts to Core Checking accounts. (See Part II.A, above.) Likely for this reason,

   Flores argues that the Modification Clause (she does not explicitly address the

   Conversion Clause) grants so much discretion to Bank of America as to potentially

   render the contract illusory. (ECF No. 10 at 10–11.) She therefore encourages the

   Court to follow Badie v. Bank of America, 79 Cal. Rptr. 2d 273 (App. 1998), where the

   California Court of Appeal suggested that a clause similar to the Modification Clause did

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   not give the bank “carte blanche to make any kind of change whatsoever as long as a

   specified procedure is followed.” Id. at 281. Rather, it only permitted “a modification

   whose general subject matter was anticipated when the contract was entered into.” Id. 5

   Flores thus insists that

                 the word “conversion” cannot be so broad as to allow BOA to
                 “convert” free accounts into an entirely new category of paid
                 accounts. This clause may allow BOA to, for example, close
                 Plaintiff’s account and reopen it in response to suspected
                 identity theft. It does not allow BOA to foist an entirely new
                 type of checking account onto accountholders and deduct
                 $144/year from the new accounts.

   (ECF No. 10 at 11 (emphasis in original).)

          Again, Flores’s eBanking account was never free. It cost $8.95/month, subject to

   waiver conditions that Flores apparently always met. Now, Core Checking costs

   $12/month, subject to waiver conditions that Flores apparently has never met. If the

   rule of Badie is that a broad change-of-terms clause only permits “a modification whose

   general subject matter was anticipated when the contract was entered into,” 79 Cal.

   Rptr. 2d at 281, then the change at issue in this lawsuit was permissible because Bank

   of America changed terms addressing matters contemplated by the Deposit Agreement

   (and Personal Schedule of Fees): the amount of the fee and the conditions of waiver.

          But Flores’s arguments are, in any event, a departure from her pleadings. To

   repeat, Flores “does not claim she is entitled to a lifetime of free checking because she

   entered into an initial contract for one.” (ECF No. 1 ¶ 38.) Rather, she affirms “BofA’s

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             Flores treats this reasoning from Badie as a holding. (See ECF No. 10 at 11.) Badie is
   much more complicated than that. It invalidated a terms-of-service change through an
   elaborate—and frankly strained—argument that the word “terms” in the relevant contract was
   ambiguous in the context of granting the bank discretion to “change the terms,” and it heavily
   emphasized that the change at issue was the insertion of an arbitration clause, which affects the
   right to a jury trial under the California Constitution. See 79 Cal. Rptr. 2d at 285–91.


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   rights to cease offering a product like free checking accounts, and to set the prices of its

   products.” (Id. ¶ 6.) She only challenges “the process [through which] BofA chose to

   close her old account and enroll her in a new one was unfair and deceptive.” (Id.

   (emphasis in original).) In this light, whether Bank of America has too much discretion

   under the Modification and/or Conversion Clauses to change account terms is beside

   the point because Flores pleads that Bank of America has the “right[]” to modify the

   terms of service, including eliminating “free” checking, with the only qualification being

   proper notice.

          Nonetheless, at oral argument, Flores’s counsel proposed for the first time that

   the Modification Clause is so broad that it renders the entire Deposit Agreement illusory

   and not salvageable through Badie. Thus, said counsel, Flores’s contract claims may

   fail for lack of an enforceable contract, but she must be permitted to go forward on her

   CCPA, conversion, and unjust enrichment claims. For three reasons, the Court need

   not address this argument.

          First, the implied covenant of good faith and fair dealing generally saves clauses

   like the Modification Clause from illusoriness. See, e.g., Fagerstrom v. Amazon.com,

   Inc., 141 F. Supp. 3d 1051, 1066 (S.D. Cal. 2015), aff’d sub nom. Wiseley v.

   Amazon.com, Inc., 709 F. App’x 862 (9th Cir. 2017); Asmus v. Pac. Bell, 999 P.2d 71,

   79 (Cal. 2000); 2 Corbin on Contracts § 5.28 (2019). As explained below in Part III.B.1,

   that duty certainly applies if Colorado law governs. Because it may turn out that

   Colorado law governs this dispute, there is no need to consider at this stage whether

   the Modification or Conversion Clauses bring down the entire Deposit Agreement as

   illusory.



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          Second, counsel’s proposal was plainly something formulated while preparing for

   oral argument. It was not developed in briefing and Bank of America never received an

   adequate opportunity to respond.

          Third, the Court gathers that Flores’s counsel has not thoroughly considered the

   potential consequences of this proposal. Without prejudging the matter, any argument

   that Flores and the proposed class have been banking with Bank of America for years

   effectively without a contract would at least raise the question of whether Bank of

   America may counterclaim against Flores and the class under an unjust

   enrichment/quantum meruit theory. The argument would be that the cost of providing

   eBanking services was a not zero, even when customers elected paperless statements

   and avoided in-person banking, so, in fairness, former eBanking account holders should

   be required to pay for the services Bank of America provided during the years the

   parties erroneously assumed they were operating under a contract. The Court will not

   presume that Flores’s counsel means to redirect the case into such potentially

   treacherous territory without a clear signal that counsel understands the possible

   consequences.

          Accordingly, nothing about the Modification or Conversion Clauses gives rise to a

   breach of contract claim or, on this record, an argument against enforcement of the

   Deposit Agreement.

          3.     Whether Affirmative Assent Was Required

          Flores’s additionally argues that, under normal contract law, a party must assent

   to another party’s proposed contractual change. (ECF No. 10 at 6–9.) Flores argues

   that assent is a fact question that cannot be resolved at this stage. (Id.)

          The Deposit Agreement sets forth the method for expressing assent: “If you

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   continue to use your account or keep it open, you are deemed to accept and agree to

   the change and are bound by the change.” (ECF No. 8-2 at 4.) Accordingly, Bank of

   America did not breach any term of the Deposit Agreement by presuming Flores’s

   assent when it never received from her and opt-out notice. Rather, Bank of America

   acted according to the Deposit Agreement. Thus, Flores pleads no breach in this

   regard.

          4.     Whether There Was a Failure of Consideration

          Flores cites cases which hold that modification without consideration is

   ineffective. (ECF No. 10 at 9.) See, e.g., H. & W. Paving Co. v. Asphalt Paving Co.,

   364 P.2d 185, 186 (Colo. 1961); Hoagland v. Celebrity Homes, Inc., 572 P.2d 493, 494

   (Colo. App. 1977). But Flores betrays her understanding of the consideration she

   received as follows: “[I]t is difficult to fathom what consideration could possibly exist for

   the modification. Under the new contract, Plaintiff was entitled to receive the exact

   same service as before—a checking account—only now she had to pay $144 [per year]

   for it.” (ECF No. 10 at 9.) Not so. Bank of America has now lifted all restrictions on in-

   person banking and paper bank statements. Thus, it has not given nothing in return for

   increasing the monthly fee from $8.95 to $12. To the extent consideration is required,

   this is enough. See, e.g., Restatement (Second) of Contracts §§ 71, 79 (1981).

          In sum, the pleadings and other documents to which the Court may refer at this

   stage show that Bank of America acted according to the relevant contracts, not in

   violation of them. Flores’s breach of contract claim will be dismissed with prejudice.




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   B.     Has Flores Adequately Pleaded a Claim for Breach of the Implied Covenant
          of Good Faith and Fair Dealing?

          1.     The Potential Difference Between Colorado and Virginia

          Colorado unambiguously recognizes GFFD claims. See Amoco Oil Co. v. Ervin,

   908 P.2d 493, 498 (Colo. 1995). Virginia law is less clear. In one case, the Virginia

   Supreme Court seems to say that Virginia simply does not recognize a GFFD claim:

   “[I]n Virginia, when parties to a contract create valid and binding rights, an implied

   covenant of good faith and fair dealing is inapplicable to those rights.” Ward’s Equip.,

   Inc. v. New Holland N. Am., Inc., 493 S.E.2d 516, 520 (Va. 1997). However, the court

   goes on to say, “Generally, such a covenant cannot be the vehicle for rewriting an

   unambiguous contract in order to create duties that do not otherwise exist.” Id.

   Perhaps, then, the court only meant to express—in unusually forceful language—the

   fairly common principle that the covenant of good faith and fair dealing “will not

   contradict terms or conditions for which a party has bargained.” Amoco Oil, 908 P.2d at

   498.

          The Fourth Circuit and Virginia’s federal district courts have generally ignored the

   strong language in Ward’s Equipment. Those courts exclusively cite their own

   decisions or generic treatises for the proposition that the covenant of good faith and fair

   dealing is actionable under Virginia law. See, e.g., Virginia Vermiculite, Ltd. v. W.R.

   Grace & Co., 156 F.3d 535, 542 (4th Cir. 1998) (“it is a basic principle of contract law in

   Virginia, as elsewhere, that although the duty of good faith does not prevent a party

   from exercising its explicit contractual rights, a party may not exercise contractual

   discretion in bad faith, even when such discretion is vested solely in that party”




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   (emphasis in original)). 6 Nonetheless, while the Court fully understands how odd it

   would be to find an American jurisdiction that does not recognize the covenant of good

   faith and fair dealing, the Virginia Supreme Court’s word is what binds federal courts

   sitting in diversity and applying Virginia law. Johnson v. Riddle, 305 F.3d 1107, 1118

   (10th Cir. 2002) (“[w]hen the federal courts are called upon to interpret state law, the

   federal court must look to the rulings of the highest state court”).

          Thus, the choice-of-law decision is potentially significant.

          2.      Flores’s GFFD Theories

          Assuming Colorado law governs,

                  [t]he duty of good faith and fair dealing applies when one
                  party has discretionary authority to determine certain terms
                  of the contract, such as quantity, price, or time. The
                  covenant may be relied upon only when the manner of
                  performance under a specific contract term allows for
                  discretion on the part of either party.

   Amoco Oil, 908 P.2d at 498 (citations omitted). If federal decisions accurately state

   Virginia law despite Ward’s Equipment, the Court sees no different or extra

   requirements under Virginia law. In this light, the Court finds that two of Flores’s GFFD

   theories fail, but a third states a viable claim.



          6
            Virginia Vermiculite claimed that “the Virginia courts have already ruled . . . that a
   nearly identical contractual provision [to the one at issue in that case] carries with it an implicit
   duty of good faith.” Id. The prior case was a trial court decision, Historic Green Springs, Inc. v.
   Brandy Farm, Ltd., 32 Va. Cir. 98 (1993), which declared, “[I]t has been held in Virginia that
   every contract contains within it an implied duty of good faith and fair dealing.” Id. at *3. This
   assertion was obviously crafted carefully—“held in Virginia,” not held by a Virginia court—as
   shown by the cases it cites in support: a decision from the Fourth Circuit and a decision from the
   Eastern District of Virginia. See A & E Supply Co., Inc. v. Nationwide Mut. Fire Ins. Co., 798
   F.2d 669, 676 (4th Cir. 1986); Pa. Life Ins. Co. v. Bumbrey, 665 F. Supp. 1190, 1195 (E.D. Va.
   1987). The A & E Supply case relies on the Restatement (Second) of Contracts. 798 F.2d at
   676. The Bumbrey case relies on A & E Supply and another Fourth Circuit decision that cites
   only the Restatement. 665 F. Supp. at 1195.


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                 a.     Electronic-Only Notice

          Flores attacks the electronic-only nature of the notice. (ECF No. 1 ¶¶ 26–29.) In

   her view, this is not only per se unreasonable, but insidious because the low-income

   customers who were likely to have eBanking often could access electronic materials

   only through their phones, making electronic statements “even more difficult to read.”

   (Id. ¶¶ 28–29.)

          This argument implicates the Notice Clause, particularly where it says “we mail

   the notice to you at the address we currently show for your statement or, if we have

   agreed on this method, we provide it to you electronically.” (ECF No. 8-2 at 15.) This

   portion of the Notice Clause is not “a specific contract term [that] allows for discretion.”

   Amoco Oil, 908 P.2d at 498. The language establishes that Bank of America will send

   notices electronically “if we have agreed on this method”—and “we” means Bank of

   America. (ECF No. 8-2 at 5.)

          Bank of America believes it is significant that it provided Flores with “notice in the

   very format she requested.” (ECF No. 15 at 5.) This focuses on Flores’s election to

   receive statements electronically, to avoid the $8.95 fee. This argument is misdirected.

   The Notice Clause governs “notices,” not “statements.” Statements are addressed

   separately, in a section of the Deposit Agreement titled “Statements,” which immediately

   follows the section titled “Notices.” (ECF No. 8-2 at 15.) The Personal Schedule of

   Fees says only that a customer must elect “paperless statements,” not “notices.” (See

   ECF No. 8-3 at 4, 16.)

          It may be true that Flores elected to receive everything electronically (statements,

   notices, tax forms, etc.), but that is not supported solely by the fact that she elected

   paperless statements. Further, the Notice Clause requires Bank of America (“we”) to

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   agree to provide notices electronically—it does not say anything about the account

   holder’s agreement. Thus, under the Notice Clause, it is irrelevant that Flores elected to

   receive “statements” electronically; the relevant question is whether Bank of America

   “agreed” to send “notices” electronically. 7

          That said, the Notice Clause is still not a specific grant of discretion whether to

   send notices electronically. Thus, it is not a potential basis for breach of the implied

   covenant of good faith and fair dealing.

                   b.     Opt-Out Structure

          Flores challenges the opt-out nature of the transition to Core Checking. (ECF

   No. 1 ¶¶ 34, 37, 40.) Flores does not identify, nor could the Court locate, “a specific

   contract term [that] allows for discretion” in this regard. Amoco Oil, 908 P.2d at 498.

   The closest appears to be the final paragraph of the Modification Clause: “If you

   continue to use your account or keep it open, you are deemed to accept and agree to

   the change and are bound by the change. If you do not agree with a change, you may

   close your account as provided in this Agreement.” (ECF No. 8-2 at 4.) But this

   addresses what will happen when Bank of America sends a change notice, not a

   requirement Bank of America may choose to impose. Thus, there is no discretion-

   granting clause on which to base a GFFD claim.

          Even if the case were otherwise, Flores has not plausibly pleaded that Bank of

   America could have adopted an opt-in structure, considering her concession that she is

   not entitled to the eBanking terms indefinitely. (ECF No. ¶¶ 6, 38.) An opt-in procedure

   would mean that an eBanking account holder could, contrary to Flores’s concession,


          7
              Flores does not argue that such an agreement never happened.


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   maintain the eBanking terms indefinitely.

          Perhaps to avoid this problem Flores suggests that “BofA could have easily given

   consumers two options, one of which they had to affirmatively select: enroll in the new

   $144 per year account; or have their account closed and balances paid to consumers

   via check or any other method.” (Id. ¶ 34.) But this leads to its own problems. Flores

   acknowledges that many people can be lazy when faced with choices from official

   institutions (id. ¶ 20), and she nowhere alleges that Bank of America can realistically

   expect to receive a 100% response rate from affected account holders. At some point,

   then, Bank of America must be permitted to presume that the account holder made an

   election, but for which option?

          Flores believes that presuming an intent to keep the account open under the new

   terms is impermissible, and so brings this lawsuit. But presuming a desire to close the

   account could also easily lead to litigation. Flores herself maintains that “it is notoriously

   difficult to change bank accounts. Direct deposits must be changed and recurring

   debits must be updated.” (Id. ¶ 41.) Flores accordingly should recognize that if Bank of

   America closes an account and distributes the funds to an unsuspecting account holder,

   the change may cause direct deposits and automatic debits to fail, in turn causing

   financial injury to the account holder—and leading to the next lawsuit.

          For all of these reasons, Flores’s GFFD claim will be dismissed with prejudice to

   the extent she alleges that Bank of America had a choice whether to use an opt-in or

   opt-out procedure.

                 c.     Notice Included in a Statement

          Finally, Flores asserts that it was bad faith for Bank of America to include the

   notice at (or toward) the end of a bank statement. (Id. ¶¶ 23–25.) This implicates the

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   Notice Clause, not the Modification Clause. The Notice Clause says, among other

   things, “We may provide a notice as a message on your statement or as an insert with

   your statement.” (ECF No. 8-2 at 15.)

          This appears to be discretion-granting. At oral argument, however, Bank of

   America’s counsel asserted that the Notice Clause grants explicit permission, not

   discretion. In this regard, counsel directs the Court to In re Capital One Bank Credit

   Card Interest Rate Litigation, 51 F. Supp. 3d 1316, 1345 (N.D. Ga. 2014), as corrected

   (Nov. 3, 2014), aff’d sub nom. Barker v. Capital One Bank (USA), N.A., 622 F. App’x

   894 (11th Cir. 2015). There, the bank invoked a broad change-of-terms clause,

   substantially similar to the Modification Clause here, to change interest rates and credit

   limits on the credit cards of over 30 million customers. Id. at 1322. Applying Virginia

   law—specifically, the Fourth Circuit’s interpretation of Virginia law in Virginia

   Vermiculite—to a claim for breach of the covenant of good faith and fair dealing, the

   district court stated:

                  If a party has an explicit contractual right, the decision to
                  exercise the right cannot be deemed “discretionary” as that
                  term is used in good faith and fair dealing discussions. If a
                  party could only exercise an explicit contractual right in good
                  faith, then every contractual right could be read as
                  “discretionary.” [The contract in question] explicitly
                  authorizes the Defendant to change any portion of [the
                  contract], including annual percentage rates, at any time.
                  The Court finds the discretion granted under the Agreement
                  is absolute and uncontrolled and therefore even under
                  Virginia Vermiculite, the Plaintiffs have not stated a claim for
                  breach of the implied covenant of good faith and fair dealing.

   Id. at 1345 (footnote omitted). With respect, the Court is skeptical that “absolute and

   uncontrolled” discretion under a contract exists in any jurisdiction that implies a

   covenant of good faith and fair dealing—at least not without an explicit waiver of the


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   implied covenant (assuming such waivers are permitted). And the worry that “every

   contractual right could be read as ‘discretionary’” is unfounded. Again, “[t]he covenant

   may be relied upon only when the manner of performance under a specific contract

   term allows for discretion on the part of either party.” Amoco Oil, 908 P.2d at 498

   (emphasis added).

          The Court agrees with counsel for Bank of America to the extent that not every

   contractual clause including the word “may” is a specific discretion-granting clause. In

   context, a contract term saying that one party “may” do X or Y might be most

   reasonably interpreted as a bargained-for agreement that the other party will accept

   both X and Y as proper performance. And sometimes parties use “may” when they

   really mean “will.” But the Notice Clause does not lend itself to either interpretation:

                 When we inform you of changes affecting your rights and
                 obligations, we do so by delivering or otherwise making a
                 notice available to you. In some cases, we may post a
                 notice of a change in our banking offices or on our website.
                 Otherwise, we mail the notice to you at the address we
                 currently show for your statement or, if we have agreed on
                 this method, we provide it to you electronically. We may
                 provide a notice as a message on your statement or as an
                 insert with your statement.

   (ECF No. 8-2 at 15.) Save for the difference between mailing a hard copy or sending an

   electronic notice, this language is infused with discretion.

          Accordingly, the choice to include a notice as a message on a bank statement,

   allegedly because it was likely to be overlooked and therefore would allow Bank of

   America to collect monthly account fees before affected account holders recognized the

   change, is a plausible basis for a claim that Bank of America breached the covenant of

   good faith and fair dealing. Bank of America’s motion will be denied to this extent.




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   C.     Has Flores Adequately Pleaded a CCPA Claim?

          The choice-of-law question significantly affects Flores’s CCPA claim because

   Virginia’s analog to the CCPA does not apply to banks. See Va. Code § 59.1-199(D).

   But the Court need not answer the choice-of-law question at this stage because Flores

   thus far fails to plead a viable CCPA claim.

          The Colorado Legislature enacted the CCPA “to regulate commercial activities

   and practices which, because of their nature, may prove injurious, offensive, or

   dangerous to the public. The CCPA deters and punishes businesses which commit

   deceptive practices in their dealings with the public by providing prompt, economical,

   and readily available remedies against consumer fraud.” Rhino Linings USA, Inc. v.

   Rocky Mountain Rhino Lining, Inc., 62 P.3d 142, 146 (Colo. 2003). The elements of a

   private CCPA cause of action are usually stated as follows:

                 (1) that the defendant engaged in an unfair or deceptive
                 trade practice;

                 (2) that the challenged [unfair or deceptive] practice occurred
                 in the course of defendant’s business, vocation, or
                 occupation;

                 (3) that [the challenged unfair or deceptive practice]
                 significantly impacts the public as actual or potential
                 consumers of the defendant’s goods, services, or property;

                 (4) that the plaintiff suffered injury in fact to a legally
                 protected interest; and

                 (5) that the challenged practice caused the plaintiff’s injury.

   Id. at 146–47.

          Bank of America argues that, although the elements are phrased in terms of

   “unfair or deceptive” trade practices, the case law demonstrates that there is no claim

   for a trade practice that is not deceptive but still “unfair.” (ECF No. 8 at 9.) Bank of


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   America cites to two non-Colorado federal district court decisions that analyzed the

   CCPA and Rhino Linings and concluded that the addition of “unfair” in Rhino Linings

   must be dicta because the CCPA itself addresses itself only to “deceptive” trade

   practices, while the adjective “unfair” was applied for the first time, and for no

   discernible reason, when the Colorado Supreme Court formulated the elements in

   Rhino Linings. See In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig.,

   355 F. Supp. 3d 145, 159–60 (E.D.N.Y. 2018); Sheet Metal Workers Local 441 Health &

   Welfare Plan v. GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 406–08 (E.D. Pa. 2010).

          The “unfair” portion actually traces to Hall v. Walter, 969 P.2d 224 (Colo. 1998).

   There, the defendants were selling rural lots and representing to buyers that the access

   road was over the plaintiffs’ land, even though the defendants had no legal right in the

   plaintiffs’ land to convey. Id. at 227–28. “As a consequence of this misrepresentation,

   actual and prospective purchasers used the [plaintiffs’ private] road to access the

   [defendants’ lots],” causing damage. Id. at 228. The plaintiffs sued for, among other

   things, violation of the CCPA. Id. The question presented to the Colorado Supreme

   Court was whether the plaintiffs had standing to bring a CCPA claim considering that

   they were not “consumers” of the defendants’ land nor the target the defendants’

   deception, but were instead being injured by the consequences of a deception

   perpetrated on others. Id. at 230.

          To answer this question, the court “f[ou]nd it helpful . . . to examine other states’

   interpretations of their consumer protection statutes.” Id. at 232. The court viewed

   decisions from Washington state as especially helpful because of certain similarities

   between Washington’s analogous statute. In that context, the court stated:



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                 In Hangman Ridge Training Stables, Inc. v. Safeco Title
                 Insurance Co., 105 Wash. 2d 778, 719 P.2d 531 (Wash.
                 1986), the Washington Supreme Court clarified the
                 application of [the private right of action] by delineating the
                 five elements required to establish a private cause of action
                 under the Washington Act: (1) an unfair or deceptive act or
                 practice; (2) in trade or commerce; (3) which affects the
                 public interest; (4) injury to the plaintiff’s business or
                 property; and (5) a causal link “between the unfair or
                 deceptive act complained of and the injury suffered.” See
                 Hangman Ridge, 719 P.2d at 535. Courts have
                 subsequently found nonconsumer standing under the
                 Washington Act in a variety of contexts.

   Id. at 234. The Colorado Supreme Court then announced that, “[b]ased on the CCPA’s

   language and our prior decisions, we are persuaded that an analogous five-element

   standard applies in Colorado.” Id. It therefore borrowed the Washington elements

   essentially wholesale, including the “unfair or deceptive” language. Id. at 235. Rhino

   Linings cited Hall v. Walter for this and the other elements. Rhino Linings, 62 P.3d at

   146–47.

          Neither Rhino Linings nor Hall v. Walter was presented with the question of

   whether “unfair” trade practices are proscribed independent from “deceptive” trade

   practices. And Hall v. Walter’s wholesale borrowing from the Washington Supreme

   Court was not entirely justified because the Washington statute explicitly condemns

   “unfair or deceptive acts or practices in the conduct of any trade or commerce,” Wash.

   Rev. Code § 19.86.020, whereas the CCPA only condemns “deceptive trade

   practice[s],” Colo. Rev. Stat. § 6-1-105(1). Indeed, Hall v. Walter elsewhere seems to

   acknowledge as much—again, without being presented with the precise question—

   when it says “the CCPA requires the plaintiff to establish conduct by the defendant that

   constitutes a deceptive trade practice.” 969 P.2d at 234 (citing § 6-1-105 and

   parenthetically describing it as “identifying and defining deceptive trade practices”); cf.

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   Coors v. Sec. Life of Denver Ins. Co., 91 P.3d 393, 400 (Colo. App. 2003) (“a deceptive

   trade practice includes only those acts identified in § 6-1-105”), aff’d in relevant part,

   112 P.3d 59 (Colo. 2005).

          All that said, “unfair or deceptive” is now thoroughly entrenched in the statement

   of the CCPA’s elements, and it is unclear the degree to which the Court can disregard

   the Colorado Supreme Court’s interpretation of Colorado law as “dicta” when the true

   problem is not lack of a holding, but the inclusion within the holding of unreasoned

   “extras.” This Court is therefore hesitant to say that Bank of America is correct in its

   argument that the CCPA does not reach unfair-but-not-deceptive practices.

   Nonetheless, Flores’s response brief entirely ignores this argument and instead seeks

   to demonstrate Bank of America’s alleged deceptions, without relying on any allegedly

   independent unfairness. (See ECF No. 10 at 13–14.) The Court therefore deems

   Flores to have conceded Bank of America’s point, at least for present purposes, and the

   Court will turn to whether Flores has pleaded a deceptive trade practice, meaning “a

   false or misleading statement that induces the recipient to act or refrain from acting,

   [which was] made either with knowledge of its untruth, or recklessly and willfully made

   without regard to its consequences, and with an intent to mislead and deceive the

   plaintiff.” Rhino Linings, 62 P.3d at 147.

          Flores says that she challenges

                 the entirety of the notice process by which BOA closed
                 eBanking accounts, then re-opened different accounts with
                 fundamentally different terms, without informing adequately
                 consumers of those terms. BOA’s failure to inform
                 consumers that their free accounts would be closed and
                 new, paid accounts would be opened is an actionable
                 omission.

   (ECF No. 10 at 14.) The “entirety of the notice process” allegation facially fails the

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   Rhino Linings standard. The accusation that “BOA’s failure to inform consumers that

   their free accounts would be closed and new, paid accounts would be opened is an

   actionable omission” comes closer, but ultimately fails too. As already addressed, this

   misrepresents the facts in two ways: that the accounts were closed and then reopened,

   and that they were free and then no longer free. In any event, the October 2017

   statement indisputably did not fail to inform Flores that a new monthly fee would go into

   effect soon along with new conditions for waiver, and that Flores would have paid the

   monthly fee if those conditions had been in effect on her account previously. (ECF No.

   8-6 at 6.) In that light, the only conceivable omissions would be failure to disclose that

   this was a “closure” and “reopening” in some sense—but not in a sense that would

   matter to any account holder but for the new terms (which were disclosed). Thus, there

   is no actionable deception. 8

          At oral argument, Flores’s counsel repeatedly referred to Bank of America’s

   actions as “bait and switch” tactics, likely because the CCPA explicitly prohibits “‘bait

   and switch’ advertising.” See Colo. Rev. Stat. § 6-1-105(1)(n). This was not in any of

   Flores’s filings in Bank of America never received an adequate opportunity to respond.

   In any event, Flores had her eBanking account for at least five years before the alleged

   bait and switch. Under the circumstances, such a bait and switch claim is implausible

   on its face.

          More fundamentally, Flores never explains how Bank of America acted

          8
            Even if the Court does not consider the October 2017 statement as part of the record,
   there are no allegations in Flores’s complaint that Bank of America entirely failed to notify
   account holders of the new monthly fee or the new conditions for waiver, or that Bank of
   America misrepresented any of those matters. It is thus unclear what would be deceptive
   beyond allegedly concealing this contrived closure/reopening distinction that has no practical
   relevance apart from the new terms and conditions.


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   deceptively when it only took actions that were explicitly disclosed, at least as

   possibilities, in the relevant contracts.

          For all these reasons, Flores’s CCPA claim is dismissed with prejudice to the

   extent she alleges “deceptive” trade practices. However, in light of the legal uncertainty

   under that statute about trade practices that are “unfair” but not “deceptive,” Flores’s

   CCPA claim is dismissed without prejudice as to such “unfair” practices. Should Flores

   move for leave to amend in that regard, she must provide citations to Colorado state-

   court case law or Colorado statutes establishing that the CCPA extends to unfair-but-

   not-deceptive practices. 9

   D.     Has Flores Adequately Pleaded a Conversion Claim?

          Virginia and Colorado appear to be in accord on the law of conversion. In

   Colorado, “[c]onversion is any distinct, unauthorized act of dominion or ownership

   exercised by one person over personal property belonging to another.” Byron v. York

   Inv. Co., 296 P.2d 742, 745 (Colo. 1956). In Virginia, “[c]onversion is the wrongful

   assumption or exercise of the right of ownership over goods or chattels belonging to

   another in denial of or inconsistent with the owner’s rights.” Economopoulos v. Kolaitis,

   528 S.E.2d 714, 719 (Va. 2000).

          The consensus in American jurisdictions is that conversion claims must usually

   be directed at tangible property. See, e.g., United Leasing Corp. v. Thrift Ins. Corp.,

   440 S.E.2d 902, 906 (Va. 1994) (“[i]n general, a cause of action for conversion applies

          9
            For the first time in its reply brief, Bank of America argues that any use of the CCPA to
   impose disclosure requirements would be contrary to, and therefore preempted by, federal
   banking regulations. (ECF No. 15 at 8.) This prompted Flores’s Surreply Motion. (ECF No.
   22.) Because the Court is dismissing the CCPA claim on its merits, the Court need not address
   whether Bank of America properly raised the preemption argument for the first time in its reply
   brief. The Surreply Motion is accordingly denied as moot.


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   only to tangible property,” the exception being “intangible property rights aris[ing] from

   or are merged with a document, such as a valid stock certificate, promissory note, or

   bond”); Johnson v. Amica Mut. Ins. Co., 733 A.2d 977, 978–79 (Me. 1999) (holding that

   “bank account funds constitute intangible, rather than tangible, property,” and therefore

   cannot be converted; citing supporting cases from Arizona, Mississippi, Wisconsin, and

   the District of Rhode Island); Virtual Cloud Servs., Inc. v. CH2M Hill, Inc., 2006 WL

   446077, at *4 (D. Colo. Feb. 21, 2006) (assuming that Colorado law limits conversion to

   tangible property). Thus, generally, a conversion claim directed at money must be

   directed at specific bills or coins, not undifferentiated funds within an account. Johnson,

   733 A.2d at 979; Mack v. Nationwide Mut. Fire Ins. Co., 517 S.E.2d 839, 840–41 (Ga.

   App. 1999).

          Federal courts interpreting Virginia law have extended conversion-of-money

   claims to those directed at “an identifiable fund,” such as funds segregated in an escrow

   account, even though they might otherwise be considered an “intangible” ledger entry.

   See Jones v. Bank of Am. Corp., 2010 WL 6605789, at *5 (E.D. Va. Aug. 24, 2010).

   This extension of conversion draws from the principle that, “[e]ven at common law,

   money could be converted so long as it was in a bag or chest.” Id. (internal quotation

   marks omitted). Thus, it remains rooted in the idea that money is not the subject of a

   conversion claim unless it is a discrete sum, segregated from undifferentiated funds. 10


          10
              Flores emphasizes Lloyd v. Navy Federal Credit Union, 2018 WL 1757609 (S.D. Cal.
   Apr. 12, 2018), which allowed a conversion claim under Virginia law for bank account overdraft
   fees. Flores otherwise does not want Virginia law to apply—at a minimum, it would eliminate
   her CCPA claim—so it is unclear why Flores asks the Court to follow Lloyd. In any event,
   Lloyd’s reasoning is suspect. Lloyd cites cases such as Jones, supra, for the notion that
   conversion-of-money can extend to “identifiable funds,” but then announces that the conversion
   claim at issue could go forward because “Plaintiffs plead specific and identifiable sums of
   money that were allegedly converted.” 2018 WL 1757609, at *11 (emphasis added).

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          Here, Flores seeks to recover money withdrawn from an undifferentiated

   account. Thus, regardless of what state’s law applies, this claim fails and will be

   dismissed with prejudice.

   E.     Has Flores Adequately Pleaded an Unjust Enrichment Claim?

          The parties do not point the Court to any material distinction between Virginia

   and Colorado law regarding unjust enrichment. In Colorado, “a party claiming unjust

   enrichment must prove that (1) the defendant received a benefit (2) at the plaintiff’s

   expense (3) under circumstances that would make it unjust for the defendant to retain

   the benefit without commensurate compensation.” Lewis v. Lewis, 189 P.3d 1134, 1141

   (Colo. 2008). In Virginia, the elements of unjust enrichment are: “(1) a benefit conferred

   on the defendant by the plaintiff; (2) knowledge on the part of the defendant of the

   conferring of the benefit; and (3) acceptance or retention of the benefit by the defendant

   in circumstances that render it inequitable for the defendant to retain the benefit without

   paying for its value.” R.M. Harrison Mech. Corp. v. Decker Indus., Inc., 75 Va. Cir. 404,

   at *3 (2008) (internal quotation marks omitted; emphasis removed).

          Bank of America asks the Court to follow Gordon v. Chipotle Mexican Grill, Inc.,

   344 F. Supp. 3d 1231 (D. Colo. 2018), and hold that Flores received value for her $12

   monthly fee, so Bank of America cannot have been unjustly enriched. The plaintiffs in

   Gordon were all restaurant customers whose personal information was disclosed

   through a data breach, and they claimed unjust enrichment in the sense that Chipotle

   charged too much for food because what the customers paid obviously was not enough

   to ensure their data privacy. Id. at 1248. Applying Colorado law, U.S. District Judge


   Identifiable funds and identifiable sums are not the same thing.


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   Christine M. Arguello dismissed the claim because “[i]t [was] undisputed that Plaintiffs

   received the food services for which they paid. Defendant was therefore not unjustly

   enriched by retaining Plaintiffs’ payments.” Id. at 1249.

          The Court is persuaded that Gordon provides the correct framework. Flores

   counters, however, that Gordon is distinguishable because she did not receive anything

   new: “Here, in contrast [to Gordon], after the unilateral account closure, [Flores] and

   accountholders were still receiving the same services as they had initially received with

   the free checking account, making the retention of the maintenance fees unjust under

   the circumstances.” (ECF No. 10 at 15 n.13 (emphasis in original).) This argument fails

   for two reasons. First, as discussed previously, Flores was not receiving the same

   services—whether or not she wanted to use them, in-person banking and paper

   statements were available to her for no extra charge under Core Checking. Second, to

   say that one continues to receive the same services is to admit that one is receiving

   services in exchange for money. If Flores means to say—and she never does so

   explicitly—that a $12 fee is somehow wildly out of proportion to the value of what a Core

   Checking account holder receives in return for the fee, the complaint contains no

   allegations substantiating such a claim.

          The Court will dismiss Flores’s unjust enrichment claim. This dismissal is without

   prejudice, however, because the Court is not persuaded that Flores could never allege

   a viable unjust enrichment claim based on the $12 fee, at least in the alternative. Flores

   nonetheless should carefully consider whether, as previously mentioned (Part III.A.2),

   pursuing such a claim potentially opens her up to an argument from Bank of America

   that she underpaid compared to the value of what she received.



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   F.     Which State’s Law Governs?

          The Court’s analysis thus far establishes that, whether Colorado or Virginia law

   applies, Flores has only adequately pleaded one claim: breach of the covenant of good

   faith and fair dealing. The Court has also dismissed her CCPA and unjust enrichment

   claims without prejudice. The choice between Colorado and Virginia law is potentially

   significant as to the GFFD claim because, as noted (Part III.B.1), there is a fair

   argument that Virginia does not recognize such a claim. To the extent Flores later

   successfully pleads a CCPA claim, the choice between Colorado and Virginia is again

   significant, because Virginia’s analogous statute does not apply to banks (Part III.C).

   The Court therefore cannot avoid the choice-of-law question. However, in the present

   posture, the Court need only analyze the question in the context of the GFFD claim.

          “As this court is sitting in diversity, . . . Colorado choice of law principles must be

   applied in the present case.” Power Motive Corp. v. Mannesmann Demag Corp., 617 F.

   Supp. 1048, 1049 (D. Colo. 1985). When faced with a contractual choice-of-law clause,

   Colorado courts ask whether there is a reasonable basis for the chosen state’s law, and

   whether applying the chosen state’s law would be contrary to a fundamental Colorado

   policy. See, e.g., Target Corp. v. Prestige Maint. USA, Ltd., 351 P.3d 493, 497 (Colo.

   App. 2013); Hansen v. GAB Bus. Servs., Inc., 876 P.2d 112, 113 (Colo. App. 1994). If a

   reasonable basis exists and no fundamental policy will be offended, the choice-of-law

   clause will be enforced.

          In relevant part, the Governing Law Clause states: “This Agreement, and your

   and our rights and obligations under this Agreement, are governed by and interpreted

   according to . . . the law of the state where your account is located.” (ECF No. 8-2 at 4.)

   Flores raises no reasonable-basis or fundamental-policy disputes as to her GFFD claim.

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   Accordingly, “the law of the state where [Flores’s] account is located” will govern.

           But what state is that? Bank of America says that it is Virginia. (ECF No. 8 at 4–

   5.) Its argument is as follows:

           •     The Personal Schedule of Fees states, “If you live in a state where we do

                 not have a banking center and you ask us to open a personal account for

                 you, we currently maintain the account at one of our banking centers in

                 Virginia.” (ECF No. 8-3 at 3.)

           •     Bank of America “did not have a financial center in Colorado when [Flores]

                 opened her checking account in 2012.” (ECF No. 8 at 5.) This is an

                 outside-the-pleadings assertion, but Flores does not object to it.

           •     Therefore, Flores’s account is maintained at a banking center in Virginia.

                 (Id.)

           Flores responds by emphasizing that the Governing Law Clause refers to “the

   law of the state where your account is [present tense] located.” (ECF No. 10 at 4.) She

   asserts—also outside the pleadings—that (i) Bank of America now has Colorado

   branches and (ii) when eBanking accounts became Core Checking accounts in January

   2018, the eBanking accounts were “closed” and the Core Checking accounts were

   newly “opened” as of that date, meaning her “new [C]ore [C]hecking account is

   therefore ‘located’ in Colorado under the terms of the [Deposit Agreement].” (Id. at 4

   n.2.)

           Bank of America replies that Flores’s account was never closed and reopened

   (ECF No. 15 at 7)—and the Court agrees, for the reasons already stated (Part III.A.1).

   However, that only means that Flores has not demonstrated that her account “is



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   located” in Colorado now by virtue of purported closure and reopening. It does not

   mean that her account “is [still] located” in Virginia. For numerous reasons currently

   outside the record, Bank of America could have transferred her account away from

   Virginia—including to Colorado, but perhaps to some other state.

          Thus, on the record before the Court, it cannot resolve the choice-of-law

   question. Discovery on this issue is required.

                                  IV. FURTHER PROCEEDINGS

          Because at least one claim will survive, the typical next step in a proposed class

   action such as this one is class certification proceedings. However, even the surviving

   claim (GFFD) is in some doubt if Virginia law applies. In the present circumstances, the

   Court finds that the parties should proceed to fact discovery regarding:

          •       where Flores’s account “is located” for purposes of the Governing Law

                  Clause;

          •       Bank of America’s choice to notify eBanking account holders of the

                  upcoming Core Checking conversion by way of, allegedly, a notice in only

                  one bank statement; 11

          •       any other notices Bank of America sent to eBanking account holders

                  about the conversion to Core Checking.

   Following discovery, Bank of America should move for summary judgment (and Flores

   may cross-move, if desired) on the following questions:

          •       Which state’s law applies (if still disputed)?


          11
             Bank of America is warned that this is not an invitation to be stingy in discovery
   responses, e.g., to parse finely what counts as relevant specifically to the choice to include a
   notice in a statement as compared to other related choices.


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          •      Does the applicable state’s law recognize a claim for breach of the implied

                 covenant of good faith and fair dealing of the type that Flores brings here?

          •      Assuming that breach of the implied covenant of good faith and fair

                 dealing is a viable claim, does Flores have sufficient evidence from which

                 a reasonable jury could find in her favor on that claim? (Or, in any cross-

                 motion from Flores, could a reasonably jury fail to find a breach of the

                 covenant of good faith and fair dealing?)

   If Flores’s claim survives this summary judgment procedure, the Court will then order

   the parties to proceed to the class certification phase. 12

                                        V. CONCLUSION

          For the reasons set forth above, the Court ORDERS as follows:

   1.     Bank of America’s Motion to Dismiss Plaintiff’s Complaint and, in the Alternative,

          Strike Class Allegations (ECF No. 8) is:

          a.     GRANTED with prejudice as to Flores’s claim for breach of contract,

          b.     DENIED as to Flores’s claim for breach of the covenant of good faith and

                 fair dealing, to the extent the claim is based on Bank of America’s decision

                 to include notice within a bank statement;

          c.     GRANTED with prejudice as to any other theory of breach of the covenant

                 of good faith and fair dealing;

          d.     GRANTED without prejudice as to Flores’s claim for violation of the

                 CCPA;

          12
             For this reason, the Court need not now address Bank of America’s alternative
   argument that Flores’s nationwide class allegations should be stricken. (See ECF No. 8 at 13–
   15.) Bank of America may re-raise these arguments if and when it responds to a motion for
   class certification from Flores.


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         e.    GRANTED with prejudice as to Flores’s claim for conversion;

         f.    GRANTED without prejudice as to Flores’s claim for unjust enrichment;

               and

         g.    DENIED without prejudice as to Bank of America’s argument that

               nationwide class allegations should be stricken;

   2.    Flores’s Motion for Leave to File Surreply ECF No. 22) is DENIED AS MOOT;

   3.    The stay of discovery (ECF No. 33) is LIFTED; and

   4.    No later than June 17, 2019, the parties shall jointly contact the chambers of

         U.S. Magistrate Judge Kristen L. Mix to begin the process of preparing a

         scheduling order consistent with Part IV of this Order.


         Dated this 13th day of June, 2019.

                                                   BY THE COURT:



                                                   ______________________
                                                   William J. Martinez
                                                   United States District Judge




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